           Case 4:20-cv-01633 Document 4 Filed on 05/15/20 in TXSD Page 1 of 6




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

HOLMES PROSTHETIC CENTER LLC                           §
                                                       §
          Plaintiff,                                   §
                                                       §
v.                                                     §
                                                       §        CIVIL ACTION NO. 4:20-CV-1633
ZURICH AMERICAN INSURANCE                              §
COMPANY AND SEDGWICK CLAIMS                            §
MANAGEMENT SERVICES INC.                               §
                                                       §
          Defendants.                                  §
                                                       §

             DEFENDANT SEDGWICK CLAIMS MANAGEMENT SERVICES INC.’S
                              ORIGINAL ANSWER

     TO THE HONORABLE JUDGE OF SAID COURT:

            COME NOW Defendant SEDGWICK CLAIMS MANAGEMENT SERVICES INC.

     (“Defendant”), by and through its undersigned counsel, and file this its Original Answer, Demand

     for Jury Trial, and Request for Disclosure, in response to the causes of action brought by Plaintiff

     HOLMES PROSTHETIC CENTER LLC. In support, Defendant would respectfully show the

     Court as follows:

                            1.       SELECTION OF DISCOVERY LEVEL

            No response is required.

                                2.     STATEMENT OF RELIEF SOUGHT

            No response is required.

                           3.        PARTIES AND SERVICE OF SITATION

            Defendant admits it is a foreign corporation. Defendant Sedgwick is organized under the

     laws of the State of Illinois and has its principal place of business in Memphis, Tennessee.
         Case 4:20-cv-01633 Document 4 Filed on 05/15/20 in TXSD Page 2 of 6




Sedgwick is thus a citizen of Illinois and Tennessee for diversity jurisdiction purposes.

          Defendant admits Zurich American Insurance Company (“Zurich”) is a foreign

corporation. Defendant Zurich is an insurance company organized under the laws of the State of

New York and has its principal place of business in Schaumburg, Illinois. Zurich is thus a citizen

of New York and Illinois for diversity jurisdiction purposes.

                                    4.      FACTUAL HISTORY

          Defendant admits it received the request for a prosthesis, but denies it provided

precertification, preauthorization, and/or approval for coverage under the policy. Defendant denies

Plaintiff’s characterization of the “factual history” of the dispute.

                                    5.      CAUSES OF ACTION

          A.     Misrepresentation

          Defendant denies the entirety of the Misrepresentation Section of Plaintiff’s petition.

          B.     Negligent Misrepresentation

          Defendant denies the entirety of the Negligent Misrepresentation Section of Plaintiff’s

petition.

          B.     Quantum Meruit1

          Defendant denies the entirety of the Quantum Meruit Section of Plaintiff’s petition.

          C.     Promissory Estoppel

          Defendant denies the entirety of the Promissory Estoppel Section of Plaintiff’s petition.

                                    5.      ATTORNEYS’ FEES 2

          Defendant denies Plaintiff is entitled to attorneys’ fees in this case.




1
    Plaintiff’s Original Petition contains two Subsections labeled B.
2
    Plaintiff’s Original Petition contains two Sections labeled 5.


                                                     2
      Case 4:20-cv-01633 Document 4 Filed on 05/15/20 in TXSD Page 3 of 6




       Defendant denies Plaintiff is entitled to the relief requested in its “WHEREFORE”

paragraph.

            ALTERNATIVE AND/OR AFFIRMATIVE DEFENSES AND DENIALS

       Without waiving the foregoing, Defendant asserts the following conjunctive or alternative

affirmative defenses:

       1.      Defendant asserts that Plaintiff’s claims are barred against Defendant, in whole or

in part, because Plaintiff has failed to exhaust all administrative remedies prior to filing this

lawsuit. Because Plaintiff has requested the court act on a controversy still subject to administrative

review before the agency has been allowed to complete its own decision and review process,

Plaintiff’s claims should be barred until all other administrative remedies have been sought and

decided.

       2.      Defendant asserts that the negligence and/or actions of Plaintiff were, in whole or

part, a proximate cause or producing cause of the occurrence in question and/or the alleged

damages.

       3.      Defendant asserts that the occurrence in question and/or the alleged damages were

proximately caused and/or were the effect of a producing cause, in whole or in part, by the acts,

omissions, fault, negligence, or other conduct of third parties, persons, or entities over whom

Defendant has no right of control nor for whom Defendant is legally responsible. Furthermore, to

the extent the acts and/or omissions for which Plaintiff complains were committed by persons

subject to Defendant’s supervision and control, Plaintiff’s claims are barred against Defendant, in

whole or in part, because said persons acted beyond the scope of their authority to act on behalf of

Defendant.




                                                  3
        Case 4:20-cv-01633 Document 4 Filed on 05/15/20 in TXSD Page 4 of 6




        4.     Defendant asserts that Plaintiff’s claims are barred against Defendant, in whole or

in part, because the occurrence in question and the alleged damages, if any, occurred as the

proximate result of some independent intervening cause which Defendant could not reasonably

have foreseen and over which Defendant does not exercise any authority or control.

        5.     Defendant asserts that, in the event Defendant is found liable to Plaintiff, any such

liability being expressly denied, Defendant is entitled to contribution, credit, and/or indemnity, as

provided by the laws and statutes of the State of Texas including, but not limited to, the provisions

of Chapters 32 and 33 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE, as well as submitting

issue of proportionate fault and/or proportionate responsibility to assigned by the tier of fact, as

well as other applicable laws and statutes.

        6.     Defendant asserts that Plaintiff failed, either in whole or in part, to mitigate

damages as required under applicable law.

        7.     Plaintiff’s claims and the damages it seeks are barred because Plaintiff has failed to

comply with or satisfy conditions precedent.

        8.     Defendant is entitled to an offset and/or credit for any settlements and/or payments

made.

        9.     Defendant is not liable to Plaintiff and does not owe the amounts claims and, thus,

any payment would constitute unjust enrichment.

        10.    Pleading further and in the alternative, without waiving the foregoing, Defendant

asserts that, if any exemplary damages are awarded, said damages are subject to the statutory limit

set forth in the TEXAS CIVIL PRACTICE    AND   REMEDIES CODE § 41.001, et. seq., other applicable

statutory authority, and common law. Furthermore, any award of exemplary damages would

violate Defendant’s due process rights guaranteed by the Fourteenth Amendment to the United




                                                 4
      Case 4:20-cv-01633 Document 4 Filed on 05/15/20 in TXSD Page 5 of 6




States Constitution and by Section 19 of Article 1 of the Texas Constitution, unless Plaintiff proves

Defendant’s liability for exemplary damages, and the amount of exemplary damages, if any, by

clear and convincing evidence.

       11.     Without waiving the foregoing and for further answer, if any be necessary,

Defendant reserves the right to amend his answer to Plaintiff’s allegations in accordance with the

Federal Rules of Civil Procedure and/or other applicable law.

                                 DEMAND FOR JURY TRIAL

       12.     Defendant hereby makes a demand for a jury trial in this cause. A jury fee is being

paid simultaneously (or will be paid) with the filing of this demand.

                                             PRAYER

       Defendant prays Plaintiff take nothing by reason of this suit, that Defendant herein be

released, discharged and found not liable to Plaintiff, that the parties go hence with their costs,

without delay, and for such other and further relief, both general and special, at law and in equity,

to which Defendant is justly entitled.

                                              Respectfully submitted,

                                              SHACKELFORD, BOWEN, MCKINLEY & NORTON, LLP

                                              By:     /s/ Bruce R. Wilkin
                                                    Bruce R. Wilkin
                                                    Attorney In Charge
                                                    Texas Bar No. 24053549
                                                    SDTX Bar No. 641898
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                                              ATTORNEY FOR DEFENDANT
                                              SEDGWICK CLAIMS MANAGEMENT SERVICES INC.




                                                 5
      Case 4:20-cv-01633 Document 4 Filed on 05/15/20 in TXSD Page 6 of 6




                               CERTIFICATE OF SERVICE


        I hereby certify a copy of the foregoing was filed electronically with the Clerk of Court
using the CM/ECF system and/or Certified Mail, Return Receipt Requested, on May 15, 2020.

 Manfred Sternberg                                                       Via electronic service
 Manfred Sternberg & Associates, P.C.                              and/or Certified Mail / RRR
 1700 Post Oak Blvd. Suite 600
 Houston, TX 77056
 Telephone: (713) 622-4300
 Facsimile: (713) 622-9899
 Email: manfred@msternberg.com

 ATTORNEY FOR PLAINTIFF




                                                    /s/ Bruce R. Wilkin
                                                    Bruce R. Wilkin




                                               6
